                            Case 8:20-bk-06489-MGW                      Doc 1-2         Filed 08/27/20           Page 1 of 38


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Teewinot Life Sciences Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12005 Whitmarsh Lane
                                  Tampa, FL 33626
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hillsborough                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                              Case 8:20-bk-06489-MGW                       Doc 1-2          Filed 08/27/20           Page 2 of 38
Debtor    Teewinot Life Sciences Corporation                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 8:20-bk-06489-MGW                      Doc 1-2          Filed 08/27/20            Page 3 of 38
Debtor   Teewinot Life Sciences Corporation                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                            Case 8:20-bk-06489-MGW                        Doc 1-2          Filed 08/27/20           Page 4 of 38


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number (if known)                                                        Chapter       11
                                                                                                                              Check if this an
                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      08/27/2020
                                                   MM / DD / YYYY


                              X                                                                           Scott Foss-Kilburn
                                  Signature of authorized representative of debtor                        Printed name

                                  Title   Chief Restructuring Officer




18. Signature of attorney     X      /s/ Daniel R. Fogarty                                                 Date    8.27.2020
                                  Signature of attorney for debtor                                                MM / DD / YYYY

                                  Daniel R. Fogarty
                                  Printed name

                                  Stichter, Riedel, Blain & Postler, P.A.
                                  Firm name

                                  110 E. Madison St., Suite 200
                                  Tampa, FL 33602
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     813-229-0144                  Email address      dfogarty@srbp.com

                                  0017532 - Florida FL
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 1
                                  Case 8:20-bk-06489-MGW                                              Doc 1-2                 Filed 08/27/20                         Page 5 of 38

 Fill in this information to identify the case:

 Debtor name            Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      25,993,546.57

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      25,993,546.57


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $          348,161.53


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            46,707.33

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      13,276,241.70


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        13,671,110.56




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                              Case 8:20-bk-06489-MGW                        Doc 1-2      Filed 08/27/20            Page 6 of 38

 Fill in this information to identify the case:

 Debtor name          Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank                                             Operating                                                                    $500.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                       $500.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                             Case 8:20-bk-06489-MGW                         Doc 1-2        Filed 08/27/20        Page 7 of 38

 Debtor         Teewinot Life Sciences Corporation                                            Case number (If known)
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.     2,541,781 shares (12.62%) of Canaquest Medical (CANQF)                          $0.12 per share                  $305,013.72



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Teewinot Laboratories, Inc., a Canadian
           15.1.     Federal Corporation                                            100%      %                                        $45,000.00



                     Teewinot Technologies, Ltd., an Irish
           15.2.     Limited Corporation                                            100%      %                                   $19,000,000.00



                     Teewinot Hemp, Inc., a Delaware
           15.3.     Corporation                                                    100%      %                                          Unknown



                     Canalis Pharmaceuticals, a Delaware
           15.4.     Corporation                                                    100%      %                                          Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.                                                                                                     $19,350,013.72
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                             Case 8:20-bk-06489-MGW                          Doc 1-2       Filed 08/27/20          Page 8 of 38

 Debtor         Teewinot Life Sciences Corporation                                            Case number (If known)
                Name


     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                          1,165,550.85 -                                   0.00 =
            Due from Canavation                                       Total face amount     doubtful or uncollectible amount               $1,165,550.85



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Federal Tax NOLs                                                                    Tax year                                   $5,477,482.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                           $6,643,032.85
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 3
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                               Case 8:20-bk-06489-MGW                                     Doc 1-2              Filed 08/27/20                 Page 9 of 38

 Debtor          Teewinot Life Sciences Corporation                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                       $19,350,013.72

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $6,643,032.85

 91. Total. Add lines 80 through 90 for each column                                                       $25,993,546.57             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $25,993,546.57




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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                            Case 8:20-bk-06489-MGW                             Doc 1-2           Filed 08/27/20               Page 10 of 38

 Fill in this information to identify your case:

 Debtor 1                Scott Foss-Kilburn
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B
      Brief description:
      Line from Schedule A/B:
                                                                                        
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         No
         Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 1 of 1
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                              Case 8:20-bk-06489-MGW                             Doc 1-2              Filed 08/27/20   Page 11 of 38

 Fill in this information to identify the case:

 Debtor name          Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Tuatara Capital Fund I, L.P.                  Describe debtor's property that is subject to a lien                $173,871.50                 Unknown
        Creditor's Name                               Accounts, general intangibles, negotiable
                                                      collateral, inventory, equipment, deposit
                                                      accounts, commercial tort claims, investment
        655 Third Ave., 8th Floor                     property, and intellectual property
        New York, NY 10017
        Creditor's mailing address                    Describe the lien
                                                      Tuatara Capital Parallel Fund I, L.P.; pari
                                                      passu
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Tuatara Capital Parallel
 2.2                                                                                                                      $174,290.03                 Unknown
        Fund I, L.P.                                  Describe debtor's property that is subject to a lien
        Creditor's Name                               Accounts, general intangibles, negotiable
                                                      collateral, inventory, equipment, deposit
                                                      accounts, commercial tort claims, investment
        655 Third Ave., 8th Floor                     property, and intellectual property
        New York, NY 10017
        Creditor's mailing address                    Describe the lien
                                                      Tuatara Capital Fund I, L.P.; pari passu
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Teewinot Life Sciences Corporation                                                         Case number (if known)
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $348,161.53

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $5,208.33        $5,208.33
           Bryan Brink                                               Check all that apply.
           16560 Hutchinson Rd.                                       Contingent
           Odessa, FL 33556                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $16.00       $16.00
           Colorado Dept. of Revenue                                 Check all that apply.
           1375 Sherman St.                                           Contingent
           Denver, CO 80261                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                              Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $13,650.00    $13,650.00
           Mike Luther                                               Check all that apply.
           1 Spencer Ct.                                              Contingent
           Andover, MA 01810                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $14,183.00    $14,183.00
           State of Delaware                                         Check all that apply.
           Division of Corporations                                   Contingent
           P.O. Box 898                                               Unliquidated
           Dover, DE 19903                                            Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $13,650.00    $13,650.00
           Steve Orndorff                                            Check all that apply.
           4580 Augusta Dr.                                           Contingent
           Broomfield, CO 80023                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $3,287.40
           8X8, INC.                                                                Contingent
           675 Creekside Way                                                        Unliquidated
           Campbell, CA 95008                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,393.97
           Adcock                                                                   Contingent
           315 West Fletcher Ave                                                    Unliquidated
           Tampa, FL 33612                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,775.00
          Bokas Consulting                                                    Contingent
          1315 Algonac Ave.                                                   Unliquidated
          Ann Arbor, MI 48103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,895.67
          Bryan Brink                                                         Contingent
          16560 Hutchinson Rd.                                                Unliquidated
          Odessa, FL 33556                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,953.50
          Bush Ross, PA                                                       Contingent
          PO Box 3913                                                         Unliquidated
          Tampa, FL 33601-3913                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,195,158.00
          Charles Brink                                                       Contingent
          8817 Roberts Rd.                                                    Unliquidated
          Odessa, FL 33556                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $65,924.34
          Chase Bank                                                          Contingent
          383 Madison Ave.
          New York, NY 10179
                                                                              Unliquidated
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,144.33
          Chemical Abstracts Service                                          Contingent
          L-3000                                                              Unliquidated
          Columbus, OH 43260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,500.00
          Cherry Bekaert                                                      Contingent
          P.O. Box 25549                                                      Unliquidated
          Richmond, VA 23260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,413.00
          Eurofins                                                            Contingent
          15 Research Park Dr.                                                Unliquidated
          St. Charles, MO 63304                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,914.56
          Eversheds                                                           Contingent
          One Earlsfort Centre                                                Unliquidated
          Earlsfort Terrace                                                   Disputed
          Dublin 2 Ireland
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.17
          Fedex                                                               Contingent
          PO Box 660481                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,566.00
          Frank Maione Revocable Trust                                        Contingent
          2499 NW Drouillard Ave.                                             Unliquidated
          Bend, OR 97703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,900.00
          H+K Strategies                                                      Contingent
          160 Bloor Street East. Suite 800                                    Unliquidated
          Toronto, ON M4W 3P7                                                 Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,795.00
          Honigman                                                            Contingent
          650 Trade Centre Way. #200                                          Unliquidated
          Kalamazoo, MI 49002                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $141.71
          Intuit - Quickbooks                                                 Contingent
          2632 Marine Way                                                     Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $198,336.00
          Jeff Mathieson                                                      Contingent
          12784 Kinross Lane                                                  Unliquidated
          Naples, FL 34120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,050.00
          LeapChem                                                            Contingent
          Zhongtian Mansion                                                   Unliquidated
          YuguRoad, Hangzhou                                                  Disputed
          China
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,692.50
          LifeSci Advisors                                                    Contingent
          250 West 55th St. 34th Floor                                        Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,391.24
          LifeSci Public Relations                                            Contingent
          250 West 55th Street. 34th Floor                                    Unliquidated
          New York, NY 10019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $275,188.00
          Mike Luther                                                         Contingent
          1 Spencer Ct.                                                       Unliquidated
          Andover, MA 01810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,168,202.00
          MZ Trust Holdings, LLC                                              Contingent
          551 West 21st St., Apt. PH-C                                        Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.00
          National Registered Agents                                          Contingent
          PO Box 4349                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,857.00
          Nazneen Kavarana                                                    Contingent
          12017 Lisa Marie Court                                              Unliquidated
          Fairfax County, VA 22033                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.00
          Poster Compliance Service                                           Contingent
          720 S Colorado Blvd. Penthouse N.                                   Unliquidated
          Denver, CO 80246                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,057,854.42
          Queens Court Venture Partners V, LLC                                Contingent
          515 Madison Ave., 29th Floor                                        Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,980,099.58
          Queens Court Venture Partners V, LLC                                Contingent
          515 Madison Ave., 29th Floor                                        Unliquidated
          New York, NY 10012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $232.30
          Ready Refresh                                                       Contingent
          #215 6661 Dixie Hwy., Suite 4                                       Unliquidated
          Louisville, KY 40258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,161.81
          Richard Baron                                                       Contingent
          229 Daniel Dr.                                                      Unliquidated
          Sanibel, FL 33957                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85.58
          ROBIC                                                               Contingent
          630 Rene-Levesque Blvd W., 20th FL                                  Unliquidated
          Montreal, Quebec H3B 1S6                                            Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,062.00
          RTI International                                                   Contingent
          P.O. Box 900002                                                     Unliquidated
          Raleigh, NC 27675-9000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          Scalar                                                              Contingent
          PO Box 1031                                                         Unliquidated
          Draper, UT 84020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $302.50
          Schumaker, Loop and Kendrick                                        Contingent
          101 East Kennedy Blvd. # 2800                                       Unliquidated
          Tampa, FL 33602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $141,472.88
          Schwegman, Lundberg & Woessner, P.A.                                Contingent
          1600 TCF Tower                                                      Unliquidated
          121 South Eighth St.                                                Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $888.47
          Shred-it                                                            Contingent
          9207 Palm River Rd. Ste 108.                                        Unliquidated
          Tampa, FL 33619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,788.90
          Sichenzia Ross Ference Kesner LLP                                   Contingent
          1185 Avenue of Americas. 37th Floor                                 Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,939.74
          Spectrum Enterprise                                                 Contingent
          P.O. Box 31710                                                      Unliquidated
          Tampa, FL 33631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $196,350.00
          Steve Orndorff                                                      Contingent
          4580 Augusta Dr.                                                    Unliquidated
          Broomfield, CO 80023                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $767.00
          Sutisoft                                                            Contingent
          4984 El Camino Real, #200                                           Unliquidated
          Los Altos, CA 94022                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,407.00
          Tampa Bay Tech Solutions, LLC                                       Contingent
          12157 W. Linebaugh Ave. #202                                        Unliquidated
          Tampa, FL 33626                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,471.00
          Technology for Science LLC                                          Contingent
          13522 Broadfield Dr.                                                Unliquidated
          Potomac, MD 20854                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,580.00
          Thomas Hobson & Company                                             Contingent
          3403 W Fletcher Ave.                                                Unliquidated
          Tampa, FL 33618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $665.00
          Thomas Reuters                                                      Contingent
          P.O. Box 6292                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,409.40
          TIAA Commercial Finance                                             Contingent
          1700 Lincoln Street.                                                Unliquidated
          Lower Level 3 - Dep                                                 Disputed
          Denver, CO 80203
                                                                             Basis for the claim:    Copier lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $42,400.00
          Total CFO                                                           Contingent
          20711 Sterlington Dr.                                               Unliquidated
          Land O Lakes, FL 34638                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,455.48
          Trello Enterprise                                                   Contingent
          55 Broadway, 25th Floor                                             Unliquidated
          New York City, NY 10006                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,170,615.78
          Tuatara Capital Fund I, L.P.                                        Contingent
          655 Third Ave., 8th Floor                                           Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,175,839.22
          Tuatara Capital Parallel Fund I, L.P.                               Contingent
          655 Third Ave., 8th Floor                                           Unliquidated
          New York, NY 10017                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,573.00
          Venable                                                             Contingent
          PO Box 62727                                                        Unliquidated
          Baltimore, MD 21264                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $290.09
          Waterlogic USA                                                      Contingent
          8 Two Mile Rd. Suite 102                                            Unliquidated
          Farmington, CT 06032                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,007.58
          Watson Goepel                                                       Contingent
          1700-1075 W Georgia St.                                             Unliquidated
          Vancouver BC. V6E 3C9                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 10
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 Debtor       Teewinot Life Sciences Corporation                                                      Case number (if known)
              Name

 3.52      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                Unknown
           Wells Fargo                                                        Contingent
           fka Apple Financial Services                                       Unliquidated
           PO Box 105743                                                      Disputed
           Atlanta, GA 30348-5743
                                                                             Basis for the claim:    Lease of Apple equipment
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $260.58
           Zeno Office Solutions                                              Contingent
           P.O. Box 936695                                                    Unliquidated
           Atlanta, GA 31193-6695                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Copier lease
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       46,707.33
 5b. Total claims from Part 2                                                                            5b.    +   $                   13,276,241.70

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      13,322,949.03




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Lease of copier
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                            TIAA Commercial Finance
                                                                                      1700 Lincoln Street.
              List the contract number of any                                         Lower Level 3 - Dep
                    government contract                                               Denver, CO 80203


 2.2.         State what the contract or                  Lease of Apple
              lease is for and the nature of              equipment
              the debtor's interest

                  State the term remaining                                            Wells Fargo
                                                                                      fka Apple Financial Services
              List the contract number of any                                         PO Box 105743
                    government contract                                               Atlanta, GA 30348-5743


 2.3.         State what the contract or                  License Agreement
              lease is for and the nature of
              the debtor's interest
                                                                                      Willow Biosciences, Inc.
                  State the term remaining                                            3655-36 Street NW
                                                                                      Calgary, Alberta T2L 1Y8
              List the contract number of any                                         CANADA
                    government contract


 2.4.         State what the contract or                  Lease of copier
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Zeno Office Solutions
              List the contract number of any                                         P.O. Box 936695
                    government contract                                               Atlanta, GA 31193-6695




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      Jeffrey Korentur                  5665 NE Trieste Way                               Wells Fargo                    D
                                               Boca Raton, FL 33487                                                              E/F        3.52
                                                                                                                                G




Official Form 206H                                                        Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         August 27, 2020                          X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Scott Foss-Kilburn
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See attached                                                                                        $0.00        Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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     6/1/2020   Florida Blue - Bill pay              $     6,067.55
     6/1/2020   Delware eCorp Tax                    $        20.00
     6/2/2020   Principal Life Group - Bill Pay      $       251.38
     6/5/2020   Schwegman, Lundberg & Woessner -     $     7,000.00
     6/5/2020   Schwegman, Lundberg & Woessner -     $     2,100.00
     6/9/2020   Ernst & Young - wire                 $    20,000.00
    6/15/2020   Schwegman, Lundberg & Woessner -     $     1,500.00
    6/22/2020   Schwegman, Lundberg & Woessner -     $       600.00
    6/24/2020   Microsoft                            $       283.22
    6/25/2020   AXA Equitable - bill pay             $       995.00
    6/30/2020   Florida Blue - Bill pay              $     3,641.34
    6/30/2020   Principal Life Group - Bill Pay      $       360.65
    6/30/2020   Stichter Riedel Blain & Postler PA   $    15,100.00
    7/16/2020   TECO - ACH                           $        73.38
    7/27/2020   Microsoft                            $       280.00
    7/29/2020   Ernst & Young - wire                 $    37,000.00
    7/29/2020   Ernst & Young - wire                 $   123,000.00
    7/29/2020   Florida Blue - Bill pay              $     4,551.47
    7/30/2020   Principal Life Group - Bill Pay      $       387.63
    7/31/2020   Visual Gov LLC - ACH debit           $    10,000.00
     8/5/2020   Tampa Bay Tech Solutions - wire      $       713.00
    8/18/2020   Vstock Transfer - wire               $     1,485.00
    8/27/2020   Dentons US LLP                       $    27,701.00
    8/27/2020   Florida Blue - Bill pay              $     4,551.47
    8/27/2020   Principal (benefits)                 $       846.18
    8/27/2020   Microsoft                            $       280.00
    8/27/2020   TBTech                               $       356.00
                Teewinot Laboratories, Inc.
    8/27/2020 (employee severance payment)           $     1,481.54
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 Debtor       Teewinot Life Sciences Corporation                                                           Case number (if known)



       Insider's name and address                                           Dates                  Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    See attached                                                                                            $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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2:47 PM                          Teewinot Life Sciences
                    Case 8:20-bk-06489-MGW     Doc 1-2 Corporation
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08/12/20
Accrual Basis                      Custom Transaction Detail Report
                                     August 1, 2019 through August 12, 2020
                            Date             Name              Debit

Aug 1, '19 - Aug 12, 20
                           08/14/2019   Frank Mione            1,627.72 Former board member
                           11/05/2019   Frank Mione             991.69 Former board member
                           04/16/2020   Bryan Brink            1,475.85 Relative to board member
                           04/16/2020   Bryan Brink            3,445.02 Relative to board member
                                        Steve Orndorff        21,905.60 Former officer/director
                           08/26/2020   Scott Foss-Kilburn    30,450.00 CRO (deferred compensation)
                           08/27/2020   Scott Foss-Kilburn     5,250.00 CRO (Aug 15-31 compensation)
                           08/27/2020   Malcolm Kavarana      35,416.70 CSO (deferred compensation)
                           08/27/2020   Malcolm Kavarana       7,083.34 CSO (Aug 15-31 compensation)


                                                             107,645.92




                                                                                                             Page 1 of 1
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 Debtor        Teewinot Life Sciences Corporation                                                        Case number (if known)



11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.    Stichter, Riedel, Blain &
                Postler, P.A.
                110 E. Madison St., Suite 200                                                                                  June 30,
                Tampa, FL 33602                                      Attorney Fees                                             2020             $15,100.00

                Email or website address
                dfogarty@srbp.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer      Total amount or
               Address                                          payments received or debts paid in exchange              was made                    value
       13.1                                                     On September 1, 2019, Teewinot Life
       .                                                        Sciences sold 100% of its shares in
                                                                Teewinot CPG, Inc. to Canavation
                                                                Product Group, Inc. in exchange for
                                                                $1,165,550.88 (to date this has not been
                                                                paid by Canavation). To effectuate this
                                                                transaction, on August 31, 2019,
                                                                Teewinot Life Sciences first transferred
                                                                assets to Teewinot CPG, Inc. while it was
                                                                still a wholly owned subsidiary (see Bill
               Canavation Product Group,                        of Sale) and then sold the shares in the
               Inc.                                             subsidiary to Canavation for                             September 1,
                                                                $1,165,550.88.                                           2019                           $0.00

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     13033 W. Linebaugh Ave.                                                                                   10/2018 to 8/2020 (Satellite Office)
                 Tampa, FL 33626

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and                 Last 4 digits of          Type of account or          Date account was              Last balance
                 Address                                        account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address



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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None


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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Non-controlling shareholder                      EIN:
             Canaquest Medical (CANQF)
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Johanna Edwards, Bookkeeper                                                                                                January 1, 2016 to
                    2209 Groveland Dr.                                                                                                         Present
                    Lutz, FL 33549
       26a.2.       Jeff Mathieson                                                                                                             March 13, 2019 to
                                                                                                                                               October 27, 2019

       26a.3.       Bryan Brink                                                                                                                December 1, 2015 to
                                                                                                                                               April 1, 2020

       26a.4.       Lupe Contreras, Bookkeeper                                                                                                 December 17, 2015
                    14111 Stilton St.                                                                                                          to June 1, 2020
                    Tampa, FL 33626
       26a.5.       Bokas Consulting                                                                                                           May 1, 2019 to
                    1315 Algonac Ave.                                                                                                          January 1, 2020
                    Ann Arbor, MI 48103
       26a.6.       Ernst & Young                                                                                                              March 13, 2019 to
                                                                                                                                               Present

       26a.7.       Richard Baron


       26a.8.       Tuatara Capital Fund I, L.P.                                                                                               July 15, 2020 to
                    655 Third Ave., 8th Floor                                                                                                  Present
                    New York, NY 10017

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Bokas Consulting                                                                                                           May 1, 2019 to
                    1315 Algonac Ave.                                                                                                          January 1, 2020
                    Ann Arbor, MI 48103
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Ernst & Young                                                                                                              March 13, 2019 to
                                                                                                                                               Present

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.3.       Richard Baron



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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.4.       Tuatara Capital Fund I, L.P.                                                                                         July 15, 2020 to
                    655 Third Ave., 8th Floor                                                                                            Present
                    New York, NY 10017
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.5.       Cherry Bekaert
                    P.O. Box 25549
                    Richmond, VA 23260
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.6.       Scalar
                    PO Box 1031
                    Draper, UT 84020

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Tuatara Capital Fund I, L.P.
                    655 Third Ave., 8th Floor
                    New York, NY 10017
       26c.2.       Johanna Edwards, Bookkeeper
                    2209 Groveland Dr.
                    Lutz, FL 33549
       26c.3.       Ernst & Young



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Charles Brink                                                                                      Board Member


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Marc Riiska                                                                                        Board Member



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       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Albert Foreman                                                                                     Board Member


       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Scott Foss-Kilburn                                                                                 Chief Restructuring Officer


       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Malcolm Kavarana                                                                                   Chief Scientific Officer




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Mike Luther                                                                                        Board Member and CEO


       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Richard Baron                                                                                      Board Member


       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Frank Maione                                                                                       Board Member


       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Francisco J. Sanchez                                                                               Board Member


       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Jeff Mathieson                                                                                     CFO


       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Steve Orndorff                                                                                     COO



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

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       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Bryan Brink
       .                                                        $125,000                                                 Annual            Salary

               Relationship to debtor
               Relative to Board Member


       30.2 Steve Orndorff                                                                                               Prior 12          Expense
       .                                                        $21,905.60                                               months            reimbursement

               Relationship to debtor
               Former Insider


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Teewinot Life Sciences Corporation                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Fill in this information to identify the case:

 Debtor name         Teewinot Life Sciences Corporation

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        August 27, 2020
                                                                        Scott Foss-Kilburn
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov


In re:                                                Chapter 11

TEEWINOT LIFE SCIENCES                                Case No. 8:20-bk-
CORPORATION,

         Debtor.
                               /


                      STATEMENT PURSUANT TO SECTION 1187(a)

         Pursuant to 11 U.S.C. §1187(a), I, Scott Foss-Kilburn, the Chief Restructuring Officer of

Teewinot Life Sciences Corporation (the “Debtor”), state the following:

       (1)   The Debtor’s most recent financial statements are not available for filing due to the
pending consolidated audit of the Debtor and its non-debtor wholly-owned subsidiaries for the
year 2019. The financial statements will be provided once the audit is concluded.

         (2)    The 2018 Federal Income Tax return has been filed and is attached hereto.

         I, Scott Foss-Kilburn declare under penalty of perjury that I have read the foregoing

statement and it is true and correct to the best of my information and belief.




                                              Scott Foss-Kilburn
